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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA, Criminal Docket No.
CR-19-02886 (AMD)
Vv.

ROBERT SYLVESTER KELLY,

Defendant,
and

UNIVERSAL MUSIC PUBLISHING, INC.,

Garnishee.

ANSWER OF THE GARNISHEE

ANTHONY SARAGUETA, BEING DULY SWORN DEPOSES AND SAYS:

IF GARNISHEE IS A CORPORATION:
That he is the Senior Vice President, North American Administration - Los Angeles, of
Garnishee, Universal Music Publishing, Inc., a corporation organized under the laws of the State

of California.
On June 14, 2023, Garnishee was served with the Writ of Continuing Garnishment.

For the pay period in effect on the date of service of the Writ of Continuing Garnishment, as
indicated above:

1. Was Defendant-Judgment Debtor (“Debtor”) in your employ?

Yes xX No
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2. Defendant is paid, as follows: N/A.

ah The pay period in effect on the date of service of the Writ of Continuing
Garnishment: N/A.

4, Calculate amount of Debtor’s net wages: N/A.

5. Have previous garnishments been issued with respect to the above-referenced
Debtor?

Yes x No
6. Garnishee has custody, control, or possession of the following non-earnings

property in which the Debtor maintains an interest, as described below:

Description of Debtor’s

Description of Property Approximate Value Interest in Property
VACE — Kelly, Robert pka R. $567,444.19 Music publishing royalties
Kelly
ae Garnishee does not have custody, control, or possession of any other property in
which Debtor maintains an interest.
8. Garnishee anticipates owing music publishing royalties to Debtor in the future. The

amount of such payments is unknown because it will depend on the extent to which Debtor’s
musical compositions are purchased, downloaded, synchronized, or otherwise exploited during
future royalty accounting periods. Royalties are accounted on a semi-annual basis. Accordingly,
royalties for the accounting period running from January 1, 2023 to June 30, 2023 are due to be
paid on or before September 30, 2023. Royalties for the period running from July 1, 2023 to

December 31, 2023 are due to be paid on or before March 31, 2024.
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9. The Garnishee has filed the original answer via PACER by mailing or delivering
the answer to: (1) Clerk of the Court, Eastern District of New York, United States Courthouse, 225
Cadman Plaza East, Brooklyn New York; and (2) mailed copies of the answer by first class mail
to Jennifer Ann Bonjean, Esq., Bonjean Law Group, PLLC, 750 Lexington Avenue — 9" Floor,
New York, NY 10022 and Daniel G. Saavedra, Assistant U.S. Attorney, United States Attorney’s

Office, 271 Cadman Plaza East, Brooklyn, New York 11201

WDA wr

Anthony Saragueta

STATE OF Celi Para’ nw )

COUNTY OF Los Angeles ) ss.:

Sworn to before me

This a day of 4 IAC , 2023

See abs cel CA Shit,
NOTARY PUBLIC ack Nowledgadth,
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ACKNOWLEDGMENT

A notary public or other officer completing this
certificate verifies only the identity of the individual
who signed the document to which this certificate is
attached, and not the truthfulness, accuracy, or
validity of that document.

State of California
County of 5 Aug des )

On qene dt a9 before me, Aerroid Groans

(insert name and title of the officer)

personally appeared bn Vio. u Se (0.4 vetn

who proved to me on the basis of satisfactory evidence to bd the Serene whose name(s) is/are
subscribed to the within instrument and acknowledged to me that he/she/they executed the same in
his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the instrument the
person(s), or the entity upon behalf of which the person(s) acted, executed the instrument.

| certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing
paragraph is true and correct.

WITNESS my hand and official seal. JERROLD GRANNIS

COMM. #2426103 2
Notary Public - California 8
Los Angeles County =
Comm. Expires Dec. 5, 202

Signatu | (Seal)

